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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
NELDA JULIANI,                                                 :
                                                               :      22 Civ. No. 03018 (GHW) (GS)
                                    Plaintiff,                 :
                                                               :              ORDER
                  against                                      :
                                                               :
ALEINA ALMEIDA, et al.,                                        :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X
GARY STEIN, United States Magistrate Judge:

        The Court is in receipt of pro se Plaintiff Nelda Juliani’s October 10, 2023
letter addressed to Judge Gorenstein. (Dkt. No. 39). Plaintiff’s letter requests an
additional extension of time to serve Defendants Aleina Almeida and Meridian
Global. The letter states that Plaintiff previously provided the Court with an
address for Aleina Almeida. It is unclear to the Court what that address is and
whether it is the same address of 90 Broad Street, New York, NY 10004 that was
contained in Plaintiff’s letter to Judge Gorenstein docketed on May 16, 2023. (See
Dkt. No. 29). In his Order dated June 9, 2023, Judge Gorenstein noted that in his
view the 90 Broad Street address was not an address for Aleina Almeida in her
individual capacity, but instead was an address for service upon Meridian
International Services Group (which has already been served). (Dkt. No. 35). In
that same Order, Judge Gorenstein cautioned Plaintiff about the potential
termination of parties whose addresses are not sufficiently identified for service of
process.
       In light of the above, the Court hereby ORDERS that if Plaintiff has any
address for service upon either Aleina Almeida or Meridian Global other than 90
Broad Street, New York, NY 10004, Plaintiff must provide the Court, by letter, with
that address or addresses by no later than November 17, 2023. If Plaintiff has not
provided sufficient addresses for service for these remaining unserved Defendants
by that time, the Court will direct the Clerk to dismiss these parties without
prejudice, pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, and the
case will proceed solely against Defendant Meridian International Services Group.
         The Clerk of Court is respectfully requested to mail a copy of this Order to
Plaintiff at 136 Hamden Avenue, Staten Island, NY 10306.


SO ORDERED.
DATED:           New York, New York
                 October 27, 2023

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                                                              GARY STEIN
                                                              United States Magistrate Judge
